
PER CURIAM.
Before us is a motion to dismiss an appeal commenced by one co-defendant who seeks review of a final judgment exonerating another co-defendant from liability. On the authority of Christian et al. v. Popovich et al., 363 So.2d 2 (Fla. 1st DCA 1978) and Sol Walker &amp; Co. v. Seaboard Coast Line R. Co., 362 So.2d 45 (Fla. 2d DCA 1978) the motion to dismiss is denied.
In so ruling we hold that the right of one co-defendant to appeal a judgment which exonerates another co-defendant is inherently implied in Florida’s Contribution Act, Section 768.31, Florida Statutes (1977).
LETTS, MOORE and BERANEK, JJ., concur.
